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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA

       v.                                        No. 17-cr-10265-DLC

  SALLY ANN JOHNSON,

         Defendant.


                      NOTICE OF WITHDRAWAL OF APPEARANCE

       Pursuant to Local Rule 83.5.2(c), the undersigned Assistant United States Attorney

hereby withdraws as counsel in this case and respectfully requests to be removed from the docket

for purposes of receiving electronic notices. The undersigned is retiring from government service

on October 24, 2019. The government remains represented in this matter by Assistant United

States Attorney Sandra S. Bower.

                                                Respectfully submitted,


                                                ANDREW E. LELLING
                                                United States Attorney

                                            By: /s/ Brian A. Pérez-Daple
                                               Brian A. Pérez-Daple
                                               Assistant U.S. Attorney
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                                       Certificate of Service

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

Dated: October 22, 2019                                         /s/ Brian A. Pérez-Daple
                                                                Assistant United States Attorney




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